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 UNITED STATES DISTRICT COURT
                                                                     it AUG 1 6 2018 ★
 EASTERN DISTRICT OF NEW YORK

                                                          X           BROOKLYN OFFICE
 TARIK SHEPPARD,
                                        Plaintiff,
                                                              MEMORANDUM
                                                              DECISION AND ORDER
                          - against-
                                                              17-CV-5719(AMD)(SMG)
 UNITED STATES TENNIS ASSOCIATION
 INCORPORATED and MICHAEL J.
 RODRIGUEZ,


                                        Defendants.
                                                          X

 ANN M.DONNELLY,United States District Judge:

         The plaintiff, Tarik Sheppard, brings this action against United States Tennis Association

 Incorporated and USTA security director, Michael J. Rodriguez, alleging violations of42 U.S.C.

 § 1981, New York Executive Law § 292, and New York Civil Rights Law § 40, as well as

 common law torts of negligence and intentional conduct. On January 9, 2018,the plaintiff filed

 an amended complaint to address deficiencies the defendants had identified in their November 9,

 2017 pre-motion letter to the Court. (ECF No. 14.) The defendants now move to dismiss the

 amended complaint in its entirety. (ECF No. 16.) For the reasons that follow, I dismiss the

 plaintiffs §1981 claim.

                                              BACKGROUND*

         On September 7,2017,the plaintiff and his wife, a USTA employee, had tickets to and

 attended the U.S. Open tennis tournament in Flushing Meadows Park in Queens. (ECF No. 14

    4, 8-9, 13.) At 10:00 p.m., after the plaintiff and his wife had "spen[t] some time" at the



 *A11 facts are taken from the complaint. (ECF No, 14.)
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 tournament, the plaintiff attempted to drive his wife to her car, which was parked in a lot that she

 had credentials to enter. {Id.    11,13.) The plaintiff does not allege that he also had credentials

 to enter the parking lot.

         As the plaintiff approached the parking lot, a USTA employee, Shameka Brown,asked

 where the plaintiff was going, and he replied that he was driving his wife to her car on the other

 side of the parking lot. {Id.    13-14.) Brown told the plaintiffthat he could not enter, and

 when asked why not, replied '"Cause you are a                 {Id.    15-17.) After confirming

 that he had heard Brown correctly, the plaintiff called for Brown's direct supervisor and spoke to

 him. {Id. KK 19-21.) When her supervisor asked Brown whether she had made any racial

 remarks, she confirmed:"Yes. I called him a n[*****], and I don't care...." {Id. ^ 23.) Shortly

 thereafter, Rodriguez, the USTA security director arrived. {Id. ^ 24.) According to the plaintiff,

 Rodriguez confirmed with Brown that she had used racial slurs, and Brown went on to repeat the

 epithets in front of Rodriguez. {Id. f 26.) Rodriguez and Brown's direct supervisor assured the

 plaintiffthat they would create incident reports and send them to the plaintiff. {Id. ^ 27.)

 Rodriguez also told the plaintiff that he would be taking the plaintiffs and his wife's statements

 regarding the incident. {Id. K 30.)

        The plaintiff was not given access to the parking lot, so his wife walked across the

 parking lot to retrieve her car. {Id. UK 28-29.) At the time the plaintifffiled this action, he had

 not received any reports conceming the incident nor did anyone from the USTA take his or his

 wife's statement. {Id.      31-32.)

                                           DISCUSSION


        To survive a motion to dismiss, a complaint must plead "enough facts to state a claim to

 relief that is plausible on its face." Bell Atlantic Corp. v. Twombly, 550 U.S. 544,570(2007).
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 This means that it must "plead[] factual content that allows the court to draw the reasonable

 inference that the defendant is liable for the misconduct alleged." Ashcroft v. Iqbal, 556 U.S.

 662,678(2009)(citing Twombly,550 U.S. at 556). While it does not require "detailed factual

 allegations," this standard requires more than "a formulaic recitation ofthe elements ofa cause

 of action" and more than an "unadorned,the-defendant-unlawfully-harmed-me accusation."

 Iqbal, 556 U.S. at 678 (citing Twombly,550 U.S. at 555). In deciding a Rule 12(b)(6) motion to

 dismiss, the Court"must accept as true all ofthe allegations contained in the complaint;"

 however,this tenet does not apply to legal conclusions. Iqbal, 556 U.S. at 678(intemal citations

 omitted).

        At the motion to dismiss stage, the court "is generally limited to the facts as presented

 within the four comers ofthe complaint, to documents attached to the complaint, or to

 documents incorporated within the complaint by reference." Williams v. Time Warner Inc., 440

 F. App'x 7,9(2d Cir. 2011)(quoting Taylor v. Vt. Dep't ofEduc., 313 F.3d 768,776(2d Cir.

 2002)). The court may consider materials not referenced or incorporated in the complaint that

 "plaintiff[] had either in [his] possession or had knowledge of," Chambers v. Time Warner, Inc.,

 282 F.3d 147, 153(2d Cir. 2002), and are "integral to the complaint," meaning that the plaintiff

 "relies heavily" on them when drafting the complaint. Global Network Commc'ns, Inc. v. City of

 N.Y.,458 F.3d 150,156(2d Cir. 2006). Both parties have submitted extraneous materials in

 connection with their briefing, none of which I consider in deciding this motion.

        The defendants ask that I consider an attomey affidavit, which is based on the attomey's

 "review of[USTA]records" and purports to describe the rights conferred by the plaintiffs ticket

 to the U.S. Open.(ECF No. 16-2.) The defendants argue that the"US Open ticket is integral to

 the Amended Complaint" and "the complaint relies heavily upon its terms and effect." (ECF No.
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 16-1 at 3 n.2)(citation omitted). I agree that the plaintiffs U.S. Open ticket is integral to the

 complaint, but it is not the ticket that the defendants ask me to consider. Rather, they submit a

 lawyer's affidavit concerning his review of USTA records about which the plaintiff would not

 have known, and upon which he did not rely, when drafting the complaint. See Friedl v. City of

 New York,210 F.3d 79, 83-84(2d Cir. 2000)(When deciding a motion to dismiss,"a district

 court errs when it consider[s] affidavits and exhibits submitted by defendants.")(internal

 quotation marks and citation omitted). Accordingly, I do not consider the affidavit.

        Nor do I consider the plaintiffs rebuttal attorney affidavit(ECF No. 18 at 12-13) or the

 various materials regarding prior allegations ofracial discrimination at the USTA(ECF No. 18-

 1). The plaintiff does not claim that he relied these materials when he drafted the complaint, and

 offers no reason why I should consider them. As such, neither the affidavit nor the exhibit will

 be considered.


 I.     42 U.S.C.§ 1981 Claim

        Section 1981 safeguards an individual's right to "make and enforce contracts"from racial

 discrimination. 42 U.S.C. § 1981. To fall within its scope of protection, a plaintiff must show

 that the defendant impeded one of his contractual rights, which include "the making,

 performance, modification, and termination of contracts, and the enjoyment of all benefits,

 privileges, terms, and conditions ofthe contractual relationship." 42 U.S.C § 1981(b); see Clark

 V. City ofNew York, No. 13-CV-210,2014 WL 4804237, at *2(E.D.N.Y. Sept. 25, 2014).

 "Section 1981 offers relief... when racial discrimination impairs an existing contractual

 relationship, so long as the plaintiff has or would have rights under the existing or proposed

 contractual relationship." Domino's Pizza, Inc. v. McDonald,546 U.S. 470,476(2006).
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          To maintain a § 1981 claim, a plaintiff must allege "that '(1)[he] is a member of a racial

 minority;(2)an intent to discriminate on the basis ofrace by the defendant; and (3)the

 discrimination concerned one or more ofthe activities enumerated in the statute,'" including the

 making and enforcing of contracts, Ludwig's Drugstore, Inc. v. Forest City Enterprises, Inc.,

 No. 13-CV-6045,2016 WL 915102, at *12(E.D.N.Y. Mar. 4,2016)(quoting                                       Jr. v.

 Mobil Gas Station, 599 F. App'x 395, 396(2d Cir. 2015)).

          The defendants do not dispute that the plaintiff is a member of a racial minority or that

 the complaint alleges racial discrimination.' They contend that the defendants did not interfere

 with the plaintiffs contractual rights, because the plaintiff was not denied any contractual rights.

 I agree that the plaintiffs allegations are not sufficient to sustain a § 1981 claim.

          The plaintiff alleges that he was denied a contractual benefit as a U.S. Open ticketholder

 because he "was never provided access to the parking lot" where his wife's car was parked.^

 (ECF No. 14 H 28.) The plaintiff has not established that his U.S. Open ticket included parking.

 See McDonald,546 U.S. at 476(The plaintiff must establish that racial discrimination impaired

 "rights under the existing or proposed contractual relationship."). According to the complaint,

 while both the plaintiff and his wife had U.S. Open tickets(ECF No. 14                      8-9), only the

 plaintiffs "wife had a credential permitting her to enter the parking lot" {id. H 11). Thus, it was

 his wife's separate credential that granted her access to the parking lot. The ticket itself

 conferred no such access for the plaintiff. The defendants cannot be held liable where the


'The defendants "strongly deny" that any racially offensive remarks were made, but for the purposes ofthis motion
 "proceed 'on the assumption that all the allegations in the complaint are true.'" (ECF No. 16-1 at 9 n.6)(quoting
 Twombly,550 U.S. at 555).

 ^ The plaintiff, in his opposition, argues that he was "stopped on ... a public thoroughfare" outside the parking lot,
 and that he had a right to use the "thoroughfare""without fear ofdiscrimination." (ECF No. 18 at 3.) He did not
 make this factual allegation in the complaint, so I do not consider it. See O'Brien v. Nat'l Prop. Analysts Partners,
 719 F. Supp. 222,229(S.D.N.Y. 1989)("[l]t is axiomatic that the Complaint cannot be amended by the briefs in
 opposition to a motion to dismiss.").
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 plaintiff has not pled that the alleged deprived benefit flowed from his ticket. See Bishop v. Toys

 "R" Us-NYLLQ 414 F. Supp. 2d 385, 393 (S.D.N.Y. 2006), affdsub mm. Bishop v. Toys R

 Us, 385 F. App'x 38(2d Cir. 2010)(A "claim for interference with the right to make and enforce

 a contract must allege the actual loss of a contract interest....")(citation omitted).

           The plaintiff also claims that the defendants deprived him of a benefit by preventing him

 from "returning to the U.S. Open tennis matches for which he had a ticket." (ECF No. 14 K 39;

 see id.     40^1.) The plaintiff, however, concedes that he attended the tournament during the

 day (Id. 113); he does not plead that the defendants prevented him from watching additional

 matches or even that the matches were ongoing at the time of his confrontation with the parking

 lot attendant. This is fatal to his claim. See Bishop,414 F. Supp. 2d at 393(Section 1981 claim

 dismissed where the plaintiff failed to "allege that he attempted to [return to a store to return a

 purchased item] and his attempt was somehow thwarted."). To the extent that the plaintiff

 claims that he would have returned to the tournament had the parking lot incident never

 occurred, this too is insufficient to sustain a § 1981 claim. See Garrett v. Tandy Corp.,295 F.3d

 94,102(1st Cir. 2002)(A conclusory assertion that the plaintiff would have gone back to a store

 to return an item "had he believed the environment to be more welcoming is simply too

 ephemeral a hook from which to hang a cause of action under 42 U.S.C. § 1981.").

           In short, the plaintiff has not alleged a viable § 1981 claim. See Burbar v. Inc. Vill. of

 Garden City, 961 F. Supp. 2d 462,471 (E.D.N.Y. 2013)(Section 1981 "was not meant to

 provide an omnibus remedy for all racial injustice.")(internal quotation marks and citation

 omitted). Accordingly,the plaintiffs § 1981 claim is dismissed.^


 ^ The defendants also argue that Rodriguez must be dismissed as an individual defendant because the plaintiff does
 not allege that Rodriguez was a party to the plaintiffs contract, the U.S. Open ticket. (ECF No. 16-1 at 10 n.8); but
 see Hicks v. IBM,44 F. Supp. 2d 593,598-99(S.D.N.Y. 1999)("[I]ndividual supervisors could be held liable under
 § 1981 ifthey were personally involved in the discriminatory activity;" personal involvement is pled where "a
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 II.      Remaining State Law Claims

         "Where a court dismisses all claims over which it has original jurisdiction, it may, in its

 discretion, decline to exercise supplemental jurisdiction over remaining claims." Wolfinger v.

 Consolidated Edison Co. ofNew York, Inc., No. 17-CV-1710,2018 WL 3637964, at *12

 (E.D.N.Y. July 31,2018)(citing 42 U.S.C. § 1367(c)(3)). In deciding whether to exercise

 supplemental jurisdiction, district courts should balance the values ofjudicial economy,

 convenience,fairness, and comity. See Carnegie-Mellon Univ. v. Cohill, 484 U.S. 343, 343

 (1988). Here, as a matter ofcomity, the remaining state law claims would be better suited for

 state court. See United Mine Workers ofAm. v. Gibbs, 383 U.S. 715,726(1966)("Needless

 decisions of state law should be avoided both as a matter ofcomity and to promote justice

 between the parties, by procuring for them a surer-footed reading of applicable law.").

 Moreover,the remaining claims do not concern any federal policy that would require exercising

 supplemental jurisdiction. See Kolari v. New York-Presbyterian Hosp.,455 F.3d 118, 123(2d

 Cir. 2006)("[Fjederal policy concerns may argue in favor of exercising supplemental

 jurisdiction even after all original-jurisdiction claims have been dismissed.").

         Because the only federal claim has been dismissed, I decline to exercise supplemental

 jurisdiction over remaining state claims. Klein & Co. Futures. Inc. v. Bd, ofTrade,464 F.3d

 255, 262(2d Cir. 2006)("[WJhere, as here, the federal claims are eliminated in the early stages

 oflitigation, courts should generally decline to exercise pendentjurisdiction over remaining state

 law claims.").




 supervisor had knowledge of alleged acts of discrimination and failed to remedy or prevent them.")- Because the
 plaintiffs § 1981 claim is dismissed on other grounds, I do not reach this argument.
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                                                  CONCLUSION


          For the reasons above, I dismiss the plaintiffs §1981 claim without prejudice,"^ and

 decline to exercise jurisdiction over the plaintiffs remaining state law claims. The Court grants

 the plaintiff leave to file an amended complaint within 30 days from the entry of this Order. If

 the plaintiff does not file an amended complaint, this case will be closed.



 SO ORDERED.




                                                                    s/Ann M. Donnelly


                                                                 Ann M. Donnelly
                                                                 United States District Judge


          Dated: Brooklyn, New York
                 August 16, 2018




  Although the defendants have moved to dismiss the plaintiffs claims with prejudice(ECF No. 16-1 at 15-16; ECF
 No. 19 at 9-10), in light of the facts raised in the plaintiffs opposition(ECF No. 18), the plaintiff may amend his
 complaint to address and cure the deficiencies discussed above. See Jordan v. Chase Manhattan Bank, 91 F. Supp.
 3d 491, 500(S.D.N.Y. 2015)(Court considered allegations raised only in the plaintiffs opposition brief in
 determining whether to grant leave to file an amended complaint); see also Mian v. Donaldson, Lufkin & Jenrette
 Sec. Corp., 1 F.3d 1085, 1087(2d Cir. 1993)(holding that the plaintiff should be given the "opportunity to amend
 his complaint in light ofthe policy to liberally construe civil rights complaints"). If the plaintiff files an amended
 complaint, the defendants may move to dismiss the amended complaint.
